18-23325-rdd   Doc 21-2    Filed 04/11/19 Entered 04/11/19 17:25:00   Exhibit Ex B
                          Cor to Mark Cohen Esq Pg 1 of 4
18-23325-rdd   Doc 21-2    Filed 04/11/19 Entered 04/11/19 17:25:00   Exhibit Ex B
                          Cor to Mark Cohen Esq Pg 2 of 4
18-23325-rdd   Doc 21-2    Filed 04/11/19 Entered 04/11/19 17:25:00   Exhibit Ex B
                          Cor to Mark Cohen Esq Pg 3 of 4
18-23325-rdd   Doc 21-2    Filed 04/11/19 Entered 04/11/19 17:25:00   Exhibit Ex B
                          Cor to Mark Cohen Esq Pg 4 of 4
